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                       UNITED STATES DISTRICT COURT FOR THE
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10   ______________________________________
      JANE DOE, an individual,              )   Case No. 2:19-cv-1005-AB-KS
 11                  Plaintiff,             )
                                            )
 12          v.                             )   [PROPOSED] ORDER RE:
                                            )   STIPULATION TO MODIFY
 13   CALIFORNIA INSTITUTE OF               )   HEARING DATES AND TIMES
      TECHNOLOGY, a California Corporation; )   FOR CALIFORNIA INSTITUTE OF
 14                                         )   TECHNOLOGY’S MOTIONS TO
      JOHN DOE, an individual; KEVIN
      GILMARTIN, an individual; and DOES 1  )   DISMISS AND RULE 26
 15                                         )   SCHEDULING CONFERENCE
      through 100, inclusive,               )
 16                  Defendants.            )
      _____________________________________ )
 17   JOHN DOE, an individual,              )
                     Counterclaimant,       )
 18                                         )
            v.                              )
 19                                         )
                                            )
 20   JANE DOE, an individual,              )
                     Counter Defendant.     )
 21
      _____________________________________ )
                                            )
 22   JOHN DOE, an individual,              )
                     Cross-Claimant,        )
 23                                         )
            v.                              )
 24                                         )
                                            )
 25   CALIFORNIA INSTITUTE OF               )
      TECHNOLOGY, a California Corporation, )
 26                  Cross-Defendant.       )
                                            )
 27                                         )
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Case 2:19-cv-01005-AB-KS Document 60 Filed 05/14/19 Page 2 of 2 Page ID #:927




  1         Before the Court is Plaintiff and Counter-Defendant Jane Doe, Defendant
  2   and Cross-Defendant California Institute of Technology (“Caltech”), Defendant
  3   Kevin Gilmartin (“Gilmartin”), and Defendant/Counterclaimant/Cross Claimant
  4   John Doe’s (together, the “Parties”) Stipulation to Modify the Hearing Dates and
  5   Times for Caltech’s Motions to Dismiss and the Rule 26 Scheduling Conference.
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      The Stipulation is entered and the Court hereby orders:
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            1.    The hearing for the Motions be set at 10:00 a.m. for July 19, 2019;
  8
      and
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            2.    The Rule 26 Scheduling Conference is rescheduled to be at the same
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      time as the hearing for the Motions.
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            IT IS SO ORDERED.
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      DATED: May 14, 2019                         _____________________________
 16                                               Hon. André Birotte Jr.
 17                                               United States District Judge
 18
                                                  Central District of California

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